Form No.
     7fnlntc5:22-bk-00056      Doc 280     Filed 06/27/24      Entered 06/27/24 10:24:26           Page 1 of 1

                                  UNITED STATES BANKRUPTCY COURT
                                      Northern District of West Virginia



In    Ohio Valley University
Re:   Debtor                                              Case No.: 5:22−bk−00056
                                                          Chapter: 7


                       NOTICE OF PUBLICATION OF TRUSTEE'S FINAL REPORT
                        AND NOTICE OF APPLICATION FOR COMPENSATION


   Pursuant to Fed. R. Bankr.P. 2002(f)(8), you are hereby NOTIFIED that a Trustee's Final Report and Application
for Compensation was filed in the above−referenced case on June 27, 2024 . The Report is available on the Court's
website at www.wvnb.uscourts.gov/trustees−final−report. You may also request a free copy of the report by calling
the Bankruptcy Clerk's Office at 304−233−1655 (M−F 8:30 − 4:00), or by writing to the Clerk's Office at P.O. Box
70, Wheeling, WV 26003. If no objection is received by the Bankruptcy Clerk's Office within 30 days of the filing of
the Trustee's Final Report, a presumption will arise that the above−captioned bankruptcy estate has been fully
administered under Fed.R.Bankr.P. 5009(a).

    Pursuant to Fed.R.Bankr.P. 2002(a)(6), the following professional is seeking compensation from the assets of the
above−captioned bankruptcy estate. An objection to compensation, if any, must be in writing and filed with
Bankruptcy Clerk's Office at P.O. Box 70, Wheeling West Virginia, on or before 23 days from the date of issuance
of this document. If you object, you should provide an explanation for the basis of your objection. If you are a
business entity, any objection must be filed by an attorney. The Court, in its discretion, may grant or deny
compensation based on the request for compensation and any written objection, or the Court may set the matter for
hearing upon further notice by the Clerk to the affected parties.

Professional                                              Amount Requested
Thomas Fluharty, Trustee Compensation                     $23,670.91
Thomas Fluharty, Trustee Expenses                         $ 3,417.42
Thomas Fluharty, Attorney Compensation                    $53,235.00
Thomas Fluharty, Attorney Expenses                        $ 797.14


Date of Issuance: 6/27/24



                                                          Clerk of Court
                                                          U.S. Bankruptcy Court
                                                          Post Office Box 70
                                                          Wheeling, WV 26003
                                                          304−233−1655
